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June 5, 2020

VIA ECF
The Honorable Steven I. Locke
Magistrate Judge
United States District Court
Eastern District of New York
100 Federal Plaza, Courtroom 840
P.O. Box 9014
Central Islip, New York 11722
(631) 712-5700

            Re:         Hice v. Lemon, Docket No. 19-cv-04666 (JMA) (SIL)
                        Joint Proposed Discovery Order

Dear Magistrate Judge Locke:

        Pursuant to Judge Azrack’s order dated May 20, 2020 (ECF No. 37), the parties hereby submit a
joint proposed discovery schedule, annexed hereto. The parties will make themselves available for a
conference with the Court if the Court so directs.




ARMSTRONG TEASDALE, LLP                                                            NESENOFF & MILTENBERG, LLP

/s/Caroline J. Polisi                                                              /s/ Adrienne Levy
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Cc: All counsel (via ECF)




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                              DISCOVERY PLAN WORKSHEET


                Proposed Schedule: Hice v. Lemon, 2:19-cv-04666-JMA-SIL
      Deadline for completion of Rule 26(a) initial     6/19/2020
      disclosures and HIPAA compliant records
      authorizations:

      Rule 16 Scheduling Conference                             Possible dates: 6/29-7/2, 7/7-
      (jointly requested by parties)                            7/10

      Written Discovery Demands due by:                         7/20/2020

      Motion to join new parties or amend the pleadings:        9/3/2020

      All fact discovery completed by:                          12/15/2020

      Experts disclosed by:                                     12/15/2021

      Initial Expert Reports due:                               1/15/2021

      Rebuttal Expert Reports due                               2/15/2021

      Completion of all discovery                               4/5/2021

      Dispositive Motions                                       5/28/2021


In the event that no experts are utilized in this matter, the parties submit the following adjustment
to the proposed discovery schedule:

      All discovery completed by:                       12/15/2020

      Dispositive Motions                               2/15/2021


 NOTE: The fact discovery schedule set forth above is based upon the parties’ rough estimate at
 this time of approximately ten fact witnesses. In the event that a significant number of
 additional witnesses are identified as discovery progresses, the parties may seek an extension of
 fact discovery deadlines as may be necessary and appropriate.
